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                                        EXHIBIT




                                                                                             ELECTRONICALLY FILED - 2022 Mar 30 9:54 AM - BEAUFORT - COMMON PLEAS - CASE#2022CP0700548
                                             B
STATE OF SOUTH CAROLINA                           IN THE COURT OF COMMON PLEAS
                                                  FOURTEENTH JUDICIAL CIRCUIT
COUNTY OF BEAUFORT                                CIVIL ACTION NO. 2022-CP-07-_____

BRIAN SHORR and ANDREA SHORR,

              Plaintiffs,                                      SUMMONS
                                                         (Jury Trial Demanded)
vs.

MARRIOTT         VACATION         CLUB
INTERNATIONAL,       INC.,  MARRIOTT
VACATIONS                  WORLDWIDE
CORPORATION, MARRIOTT VACATION
CLUB d/b/a MARRIOTT’S MONARCH AT
SEA PINES, ISLAND FITNESS EQUIPMENT,
LLC, JOHN DOE I, and JOHN DOE II,

              Defendants.



TO: THE DEFENDANTS ABOVE NAMED:

       YOU ARE HEREBY SUMMONED and required to Answer the Complaint in the

action, a copy of which is herewith served upon you, and to serve a copy of your Answer

thereto upon the undersigned at his office at Post Office Box 21069, Hilton Head Island,

South Carolina 29925, within thirty (30) days of the service hereof, exclusive of the date

of such service; and if you fail to Answer the Complaint within such time, the Plaintiffs

in this action will apply to the Court for the relief demanded therein, and judgment by

default will be entered against you.
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                                                SHELTON LAW FIRM, LLC

                                                /s/Benjamin T. Shelton
                                                Benjamin T. Shelton, Bar No. 77207
                                                S. Harrison Williams, Bar No. 102410
                                                (P.O. Box 21069)
                                                10 Hospital Center Commons
                                                Hilton Head Island, SC 29926 (29925)
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Hilton Head Island, South Carolina
March 30, 2022




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 STATE OF SOUTH CAROLINA                           IN THE COURT OF COMMON PLEAS
                                                   FOURTEENTH JUDICIAL CIRCUIT
 COUNTY OF BEAUFORT                                CIVIL ACTION NO. 2022-CP-07-_____

 BRIAN SHORR, and, ANDREA SHORR,

               Plaintiffs,                                     COMPLAINT
                                                           (Jury Trial Demanded)
 vs.

 MARRIOTT         VACATION    CLUB
 INTERNATIONAL,            MARRIOTT
 VACATIONS WORLDWIDE, MARRIOTT
 OWNERSHIP RESORTS, INC., MARRIOTT
 VACATION CLUB d/b/a MARRIOTT’S
 MONARCH AT SEA PINES, ISLAND
 FITNESS EQUIPMENT, LLC, JOHN DOE I,
 and JOHN DOE II,

               Defendants.



        The Plaintiffs, complaining of and against the Defendants herein, would

respectfully show unto this Honorable Court that:

   1. The Plaintiff, Brian Shorr, (hereinafter referred to as “Mr. Shorr” or “Plaintiff”) is

a resident of Manalapan Township, located in Monmouth County, State of New Jersey,

at the time this action arose.

   2. The Plaintiff, Andrea Shorr, (hereinafter referred to as “Mrs. Shorr”) is a resident

of Manalapan Township, located in Monmouth County, State of New Jersey, at the time

this action arose (Mr. and Mrs. Shorr collectively referred to hereinafter as “Plaintiffs”).




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   3. At all times herein, Plaintiffs Brian Shorr and Andrea Shorr were and are lawfully

married and living together as husband and wife.

   4. Defendants Marriott Vacation Club International, Marriott Vacations Worldwide,

and Marriott Ownership Resorts, Inc. are foreign corporate entities which own property,

maintain property, employ persons, and transact business within South Carolina.

   5. Upon information and belief, each and all of the Defendants, Marriott Vacation

Club International, Marriott Vacations Worldwide, and Marriott Ownership Resorts, Inc.,

are connected to and affiliated with each other by way of a parent, sister, subsidiary,

affiliate, or other close corporate relationship with respect to their ownership, marketing,

management, occupancy, and other activities at the subject incident location of Marriott

Vacation Club d/b/a Marriott’s Monarch at Sea Pines (hereinafter, collectively,

“Marriott”) on Hilton Head Island, South Carolina, that these Defendants enjoy an

amalgamation of interests with respect to all claims raised herein and should be treated

as one and the same party during this action.

   6. Defendant Island Fitness Equipment, LLC (hereinafter, “Island Fitness”) is a

limited liability company that performs services, transacts business, and maintains agents

and employees and is organized and existing under the laws of the State of South

Carolina, in good standing with the South Carolina Secretary of State, and doing business

in South Carolina.




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   7. Upon information and belief, the Defendant John Doe I (hereinafter “Doe I”) is a

resident of South Carolina and is an employee, officer, or agent of the Defendants

responsible for maintaining the premises at issue.

   8. Upon information and belief, the Defendant John Doe II (hereinafter “Doe II”) is a

resident of South Carolina and is an employee, officer, or agent of the Defendants

responsible for maintaining the premises at issue.

   9. The events described herein occurred in Beaufort County, South Carolina.

   10. All Defendants herein are collectively referred to as Defendants.

   11. The events described herein occurred at Marriott’s Monarch at Sea Pines, located

at 91 N. Sea Pines Drive, Hilton Head Island, South Carolina, Beaufort County, South

Carolina (hereinafter, “Monarch at Sea Pines”).

   12. Monarch at Sea Pines is a coastal vacation destination marketed to and providing

lodging and amenities to guests from the general public, as well as Marriott Vacation

Club owners and their guests, who are invited to stay at the property for vacation time,

leisure activities, recreational pursuits, and other similar uses.

   13. Each and all of the Defendants are sufficiently connected to the subject Marriott’s

Monarch at Sea Pines property by reason of their ownership, marketing, management,

occupancy, leasing, servicing, or other similar activities carried out thereon.

   14. At all times herein, Plaintiffs were lawful guests and invitees of the Marriott

Defendants.



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      15.    This Court has jurisdiction over the subject matter and the parties, and

   venue is appropriate before this Honorable Court.


                         FOR A FIRST CAUSE OF ACTION
                (Premises Liability/Negligence and Gross Negligence)

   16. On August 24, 2019, the Plaintiffs traveled to Hilton Head Island, South Carolina

along with four longtime couple friends and checked-in to stay at Marriott’s Monarch at

Sea Pines as guests.

   17. The Shorrs were guests and invitees of Marriott.

   18. Marriott was the Shorr’s innkeeper.

   19. The Shorrs intended to spend their time on Hilton Head playing golf, exercising,

socializing, and otherwise enjoying a leisurely vacation.

   20. In the morning of August 25, 2019, Mr. Shorr went to Marriott’s fitness center as

part of his normal routine.

   21. Upon entry, Mr. Shorr was the only individual at the gym except for a woman who

was cleaning, either employed by or engaged by Marriott.

   22. The gym contained what is commonly known as a lat pulldown bar machine.

   23. Mr. Shorr regularly used a lat pulldown bar machine as a part of his normal fitness

routine as he had done at other gyms for decades.

   24. When Mr. Shorr went to the lat bar machine, the lat bar was resting in its normal

position overhead.




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   25. Mr. Shorr sat on the seat, reached up, and pulled down the lat bar as he had done

many times before.

   26. The lat bar appeared to be attached (and should have been attached), but instead

was malfunctioning, had missing equipment, and needed repair.

   27. When Mr. Shorr grabbed the metal lat bar and pulled it down, the lat bar fell

straight down and violently struck Mr. Shorr’s head causing Mr. Shorr to fall to the

ground backwards where he was struck in the head again.

   28. When the lat bar fell onto Mr. Shorr’s head it caused a gash on the top of Mr.

Shorr’s head which bled profusely.

   29. The woman who was cleaning left the fitness center to go get help.

   30. A Marriott security officer responded, along with at least one other individual.

   31. After Mr. Shorr was injured, the security officer removed the lat bar from the area

until the equipment could be repaired.

   32. Upon information and belief, along with Marriott, Defendant Island Fitness, Doe

I and Doe II held a duty to reasonably maintain and ensure the safety of the gym

equipment, including the lat bar machine.

   33. Marriott held the duty to reasonably maintain its premises.

   34. Marriott held the duty keep its premises in a reasonably safe condition for its resort

guests and invitees, including the Shorrs.




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   35. Marriott held the duty to keep its premises free of defects which would cause

foreseeable injuries.

   36. Marriott held the duty ensure that equipment it furnished for use by its guests was

assembled and properly functioning.

   37. The Shorrs held the reasonable expectation that facilities at Marriott would be

reasonably safe, free of hazards, free of defects, and that equipment furnished by Marriott

would be fully assembled and properly functioning.

   38. Defendants breached one or all of the aforementioned duties owed to the

Plaintiffs.

   39. As a direct and proximate result of each breach of duty by the Defendants, Mr.

Shorr suffered injuries, including but not limited to personal injury, loss of enjoyment of

life, loss of opportunity, mental anguish, distress, and suffered financial harm in an

amount to be shown by Plaintiffs at trial.

   40. Additionally, the Defendants’ actions were wanton and in reckless disregard for

the safety of the Plaintiff, and the Plaintiff is entitled to a reasonable award of punitive

damages in an amount to be determined by the jury at trial.

                         FOR A SECOND CAUSE OF ACTION
                 (Loss of Consortium as to Plaintiff Mrs. Andrea Shorr)

   41. Plaintiffs repeat and reallege the foregoing paragraphs as if fully restated verbatim

herein.




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   42. Before suffering the aforementioned injuries, Mr. Shorr was able to and did

perform all of the duties of a husband and did perform all these duties, including but not

limited to, maintaining the upkeep of the home, running errands, preparing meals,

providing love, companionship, affection, income, society, relations, moral support, and

solace.

   43. As a direct and proximate result of the injuries to Mr. Shorr, he has been unable to

perform the duties of a husband; has been unable to perform marital relations and cannot

perform daily household activities, unable to maintain his personal care, and is unable to

console and support his wife as her companion as he did before the injuries.

   44. Because of his injuries, the Plaintiff, Mr. Shorr, has been and will be unable to

perform some or all of these duties in the future for his wife, Andrea Shorr.

   45. Plaintiff Andrea Shorr is therefore deprived of, and will be permanently deprived

of, Mr. Shorr’s consortium, losing the value of time spent and enjoying long-earned

benefits of planned golden years in retirement with her husband, Brian, all to the

Plaintiffs’ damage in an amount to be proven at a jury trial of this matter.

          WHEREFORE, the Plaintiffs pray that the Court inquire into the matters herein

and       grant   judgment   against   Defendants      MARRIOTT      VACATION       CLUB

INTERNATIONAL,           MARRIOTT        VACATIONS          WORLDWIDE,          MARRIOTT

OWNERSHIP RESORTS, INC., MARRIOTT VACATION CLUB d/b/a MARRIOTT’S

MONARCH AT SEA PINES, ISLAND FITNESS EQUIPMENT, LLC, JOHN DOE I, and



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JOHN DOE II for actual and consequential damages, a reasonable sum of punitive

damages to be determined by the jury at the trial of the case, the costs of prosecution of

this action, pre-judgment interest, and for such other and further relief as the Court may

deem just and proper.



                                                 SHELTON LAW FIRM, LLC

                                                 /s/Benjamin T. Shelton
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March 30, 2022




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